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EXHIBIT F

Case 1:17-cv-00650-G.]Q-RSK ECF No. 34-7 filed 03/26/18 PagelD.lSO Page 2 of 2

From: Karen Boll

Sent: Tuesday, |Vlarch 06, 2018 8:33 Al\/l

To: ‘hhudson@zacfirm.com`; 1doughughes@williamshughes|aw.com'

Cc: Shawn Cabot

Sub]ect: E|izabeth Lowing vJusin Visser, et al. USDS (Western) Case No: 17-00650

Dear Wi||iam and Heidi,

l am writing to follow up on our outstanding discovery requests in the above referenced

matter. Specifically, our office has yet to receive any response to Plaintiff's First Set of interrogatories
and First Requests for Production of Documents which were served back on October 11,

2017. Additionally, our office has not received any response to Plaintiff's Second Request for
Production of Documents which was served on or about December 12, 2017.

On [\/|arch l, 2018, you were sent a letter via facsimile reminding you of the above outstanding
discovery. However, our office has received no response to this letter, whatsoever.

Accordingly, we will be seeking the Court's intervention in this matter by filing a l\/|otion to Compe|
Discovery and for Costs and Attorney Fees due to this failure to respond to any of our discovery
requests

Pursuant to Loca| Ru|e 7.1 for the Western District of l\/lichigan, | am seeking your concurrence in the
relief sought

Thank you for your prompt attention to this matter and your anticipated compliance with the Court
Rules without the need to obtain the Court's intervention

Very truly you rs,

Karen Boll

Christopher Trainor & Associates

Phone: 800.961.8477 ext 115 | Fax: 248.698.3321

9750 l-llgh|and Road, White take, l\flichigan 48386 _ _ _ _
karen.boli c`trainor.com ThlS Uan$mlSSlC'll lS

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